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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1-26, et al.,                   §
                                                 §
      Plaintiffs,                                §
                                                 §
 v.                                              §    Civil Action No. 4:21-cv-01236-O
                                                 §
 JOSEPH R. BIDEN, JR., et al.,                   §
                                                 §
                                                 §
      Defendants.                                §


                                             ORDER

          Before the Court are the Motion for Leave to Intervene (ECF No. 143) and Motion for

Leave to Proceed In Forma Pauperis (ECF No. 145), each filed by pro se litigant Mike Webb on

May 2, 2022. Both Plaintiffs and Defendants oppose intervention. See ECF Nos. 151, 156.

          Webb, a litigation hobbyist, fails to explain why he seeks to intervene in this case. He

cannot show he “has a claim or defense that shares with the main action a common question of

law or fact.” Fed. R. Civ. P. 24(b)(1). At most, Webb expresses an interest in FOIA and the nation’s

COVID response. Mot. 1–2, ECF No. 143. Unlike Plaintiffs in this case, Webb does not seek a

religious exemption from the Navy’s vaccine mandate—indeed, he is not a member of the Navy

at all.

          Accordingly, the Court DENIES Webb’s intervention and IFP.

          SO ORDERED on this 23rd day of May, 2022.


                                                _____________________________________
                                                Reed O’Connor
                                                UNITED STATES DISTRICT JUDGE



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